 Case 4:21-cv-00184-O Document 119 Filed 11/24/21                 Page 1 of 3 PageID 2737



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 WILLIAM CLEARY et al.,                         §
                                                §
      Plaintiffs,                               §
                                                §
 v.                                             §    Civil Action No. 4:21-cv-00184-O
                                                §
 AMERICAN AIRLINES. INC.,                       §
                                                §
      Defendant.                                §

                                            ORDER

         Before the Court are Defendant’s Motion for Leave to File Two Motions for Summary

Judgment (ECF Nos. 72–73), filed October 1, 2021; Plaintiffs’ Opposition to Defendant’s Motion

(ECF No. 79), filed October 8, 2021; Defendant’s Reply to Plaintiffs’ Opposition to Defendant’s

Motion (ECF No. 82), filed October 19, 2021; Magistrate Judge Ray’s Order (ECF No. 89), filed

October 26, 2021; Defendant’s Objection to Magistrate Judge Order (ECF Nos. 100-01), filed

November 5, 2021; Plaintiff’s Response to Defendant’s Objection (ECF No. 114), filed November

15, 2021; and Defendant’s Reply in Support of Its Objection (ECF No. 117), filed November 18,

2021. For the reasons stated below, the Court finds Defendant’s Motion for Leave to File Two

Motions for Summary Judgment (ECF Nos. 72–73) is DENIED. Further, for the reasons stated

below, the Court finds the Defendant’s Objection to Magistrate Judge Order (ECF Nos. 100–01)

are OVERRULED.

         I.         Motion of Leave to File Two Motions for Summary Judgment

         Defendant requests leave to file two motions for summary judgment. Rule 56 provides that

“[u]nless otherwise directed by the presiding judge, or permitted by law, a party may file no more

than one motion for summary judgment.” Fed. R. Civ. P. 56.2(b). This Court has discretion to
 Case 4:21-cv-00184-O Document 119 Filed 11/24/21                  Page 2 of 3 PageID 2738



allow for leave if Defendant’s show good cause to do so. See Moore v. City of Rowlett, No. 3:10-

cv-73-F, 2011 WL 13232698, at *1 (N.D. Tex. Jan. 13, 2011). Defendant seeks this relief in order

to “resolve ongoing and costly discovery disputes.” Mot. 6, ECF No. 72. The Court is

unpersuaded by this reasoning as the discovery disputes are being resolved by this Order.

Therefore, this motion is DENIED.

       II.    Objection to Magistrate Judge Order

       Magistrate Judge Hal Ray entered an Order granting Plaintiffs’ Third Motion to Compel

on October 26, 2021. Pursuant to Rule 72(a) of the Federal Rules of Civil Procedure, Defendant

filed a timely objection. Under Rule 72, the Court can “modify or set aside any part of the order

that is clearly erroneous or is contrary to law.” Fed. R. Civ. P. 72(a). Legal conclusions are

reviewed de novo and the Court “reverses if the magistrate judge erred in some respect in [his]

legal conclusions.” Arters v. Univision Radio Broad. TX, L.P., No. 3:07-cv-0957-D, 2009 WL

1313285, at *2 (N.D. Tex. May 12, 2009) (alteration in original) (internal quotation marks

omitted).

       Defendant relies on its argument that “[t]he current discovery dispute turns on a legal

question regarding the scope of the Email Confirmation Class and the Credit Card Class that this

Court previously certified.” Objection 1, ECF No. 100. It contends Magistrate Judge Ray erred

because these requests call for the production of information not covered by the class. Defendant

explains that permitting discovery of this information could not be relevant because these class

members do not adequately represent those who may be affected by the requested information.

       The Court finds Defendant’s objection appears to be an attempt to redefine or further clarify

the certified classes. However, an objection to discovery is not the proper vehicle to do so.

Defendant did not move to reconsider class certification under Rule 23(f) or object through any
 Case 4:21-cv-00184-O Document 119 Filed 11/24/21                   Page 3 of 3 PageID 2739



other proper avenue. Accordingly, this is not the proper forum to resolve issues regarding class

certification. Magistrate Judge Ray correctly analyzed the class certification order, determined that

the requests Plaintiffs made were relevant and proportional to it, and overruled Defendant’s

objection. The Court therefore OVERRULES the objection.

       III.    Conclusion

       For the reasons stated above, Defendant’s Motion for Leave to File Two Motions for

Summary Judgment (ECF Nos. 72–73) is DENIED, Defendant’s Objection to Magistrate Judge

Order (ECF Nos. 100–01) is OVERRULED, and Defendant SHALL produce materials

responsive to Requests Nos. 1, 2, and 8 in Plaintiffs’ third set of production requests on or before

December 1, 2021.

       SO ORDERED on this 24th day of November, 2021.



                                                     _____________________________________
                                                     Reed O’Connor
                                                     UNITED STATES DISTRICT JUDGE
